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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF COLUMBIA


                                        )
                                        )
UNITED STATES OF AMERICA,               )
                                        )
             Plaintiff,                 )
                                        )      Criminal No.: 21-cr-128 (RC)
                                        )
             vs.                        )
                                        )
                                        )
William Pope and Michael Pope,          )
                                        )
             Defendants.                )
                                        )


    MOTION BY DEFENDANT MICHAEL POPE FOR A SEVERANCE FROM
                   DEFENDANT WILLIAM POPE
            AND INCORPORATED MEMORANDUM OF LAW

      NOW COMES Defendant Michael Pope, by and through the undersigned

court-appointed counsel, and hereby moves for a severance of defendants based

upon the potential for prejudice to his right to a speedy trial, prejudice from

spillover evidence from his co-defendant William Pope, and prejudice from the pro

se defense of William Pope, with the interests of judicial economy supporting this

severance, and in support states as follows:


   1. Defendant Michael Pope and his older brother, Defendant William Pope, are

      currently pending trial in a prosecution arising from their participation in the

      disturbances on January 6, 2021 at the United States Capitol. The two

      defendants are charged in a First Superseding Indictment. (ECF No. 46.)


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   Efforts by Michael Pope to negotiate a pre-trial disposition of this case

   reached an impasse late last month, after good-faith negotiations with three

   successive Assistant United States Attorneys assigned to this matter.

   Currently, Michael Pope intends to contest at trial the two felony charges

   against him, under 18 U.S. Code § 231 (“Whoever commits or attempts to

   commit any act to obstruct, impede, or interfere with any . . . law enforcement

   officer . . . during the commission of a civil disorder), and under 18 U.S. Code

   § 1512(c)(2) ("Whoever corruptly . . . obstructs, influences, or impedes any

   official proceeding, or attempts to do so”). There is no conspiracy alleged.

   Michael Pope is also pending trial on misdemeanor offenses under Title 18

   and Title 40 relating to his conduct at the Capitol, which he has been inclined

   to settle. Michael Pope intends to waive his right to jury trial and, subject to

   the outcome of pre-trial motions to dismiss, to request a bench trial on the

   charges before this Court, and to stipulate to many of the Government’s

   allegations. This approach will greatly narrow the factual issues in dispute as

   well as the amount of judicial resources required to try Michael Pope’s case.

2. Under these circumstances, Michael Pope should be tried on a very different

   timeline than his pro se co-defendant William Pope, whose trial preparations

   and discovery access issues could take many more months or even years.

   While Michael Pope requires some additional time to prepare a defense, his

   right to a speedy trial will become prejudiced in the coming months if he

   must continue to trial joined with William Pope.




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3. Judicial economy will be served by a severance, starting with the fact that

   Michael Pope seeks a brief bench trial, limited to the evidence admissible

   against him. Michael Pope is willing to stipulate to the authenticity of the

   video evidence offered against him that was produced in discovery. There is

   little or no other evidence or witnesses to Michael Pope’s actions or state of

   mind on January 6th at issue that would require the Government to duplicate

   its efforts to any significant degree and to inconvenience numerous witnesses

   (especially lay witnesses) by calling them again at a separate trial. There is

   no allegation of a conspiracy between the two defendants, or any similar

   scheme providing typical reasons for trying them together.

4. Assuming arguendo a jury trial despite Michael Pope’s request, an

   independent ground for severance is the prejudice to Michael Pope from the

   spillover effect with the jury of evidence that would be inadmissible against

   Michael Pope alone. A joint trial with his brother is likely to result in an

   attribution by the jury of guilt by association.

5. As a discretionary factor in favor of a severance, the pro se representation of

   William Pope would also likely affect Michael Pope negatively with jurors.

6. Undersigned counsel spoke to counsel for the Government, and the

   Government opposes severing the trials of the two defendants.

7. The grounds supporting this Motion thus far are more fully developed below

   in the incorporated Memorandum of Law. Michael Pope hereby reserves




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       other possible arguments that are not ripe for briefing that may also require

       or support severance.1


                               MEMORANDUM OF LAW


       Federal Rule of Criminal Procedure 14(a) provides that “(i)f the joinder of

offenses or defendants in…a consolidation for trial appears to prejudice a

defendant…, the court may order separate trials of counts, sever the defendants’

trials, or provide any other relief that justice requires.” Rule 14 thus provides this

Court with “great latitude to sever defendants.” United States v. Brown, 16 F. 3d

423, 432 (D.C. Cir. 1994).

       Severance is appropriate on grounds of prejudicial joinder when “there is a

serious risk that a joint trial would compromise a specific trial right of one of the

defendants, or prevent the jury from making a reliable judgment about guilt or

innocence.” Zafiro v. United States, 506 U.S. 534, 539-40 (1993).

    A. Michael Pope’s Right To A Speedy Trial Will Be Violated By A Joint Trial

    Here, Michael Pope’s trial right to a speedy trial will be prejudiced unless he is

severed from that of his older brother, William Pope. Michael Pope seeks a bench

trial in the next several months on a narrow set of issues, namely, whether he acted


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 Defendant Michael Pope files this motion now to timely advance a request to sever the defendants
for trial, given the impasse at resolving his case. The Court had earlier focused discussion of a
severance based on the different trial timing considerations for the two defendants, and that is the
leading basis cited herein. Michael Pope reserves the right to supplement this Motion with
additional grounds for severance that are still in development, especially the possible need in
Michael Pope’s defense at trial for calling William Pope as a witness to exculpate Michael. See, e.g.,
United States v. Kayode, 254 F. 3d 204, 210 (D.C. Cir. 2001)(quoting United States v. Ford, 870 F. 2d
729, 731 (D.C. Cir. 1989)). However, the parties may not need to brief this issue based on the
existence of other grounds sufficient for severance.



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with the intent to stop the electoral vote tabulation in Congress and with the intent

to obstruct a police officer. In contrast, William Pope is exploring deeply (as is his

right) the historic amount of discovery in this case. His current means of accessing

much of this material only through standby counsel is the subject of his pending

interlocutory appeal. (ECF No. 107). William Pope, who is in the academic and

media professions, has expressed broad plans to challenge the Government’s overall

response to the demonstrations at and subsequent entries into the Capitol. Michael

Pope has raised no such issues at this time, and has no present intentions to do so.

William Pope has clearly manifested a desire to defend all of the charges against

him and to fully exercise all procedural and constitutional rights at his disposal, for

as long as that may take. Michael Pope wishes to defend the most serious and over-

charged counts against him, and then to move on with his life as a rancher and as

an operator (with his wife) of a facility on the ranch for the care of autistic children.

   B. Considerations of Judicial Economy Favor Separate Trials In This Case

      In this case, the interests of judicial economy are aligned with Michael Pope’s

defense interests in severing his trial from William Pope’s.

      There is no indication that William Pope, like Michael Pope, is willing to

waive his constitutional right to a jury trial and to proceed by bench trial.

Therefore, if the two defendants were tried together by a jury, extensive motions,

objections, cross-examinations, and instructions would be needed in an attempt to

avoid prejudice to Michael Pope from a joint trial. Court resources are better

conserved giving Michael Pope his own brief bench trial.




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      There is also no great economy achieved by trying them together anyway,

despite William Pope’s and Michael Pope’s presence together over much of January

6, 2021. The case against both is made in large part by video. Michael Pope will

stipulate to the authenticity of the video. It is unclear from the discovery what non-

custodian witnesses’ testimony would be needed against both men for the

Government to prove its case. In any event, to the extent the Government claims to

have crucial overlapping witnesses, those would presumably be local police officers,

that is to say, professional witnesses readily available to the government. This is

not a case where a lot of lay witnesses would need to be called at two trials.

   A case streamlined down to the evidence against Michael Pope may take but two

or three days. This can be surmised from the face of the Complaint and First

Superseding Indictment, plus the limited discovery that is specific to these two

defendants. The evidence specifically relevant to Michael Pope’s state of mind

concerning the electoral vote count and the officers he encountered face-to-face

would constitute a small fraction of the total evidence in this case if the defendants

were to be tried jointly.

      Therefore, the incremental costs of holding a first trial for Michael Pope

would be minor, and as argued above, the severance would come with time savings

for the Court and avoidance of error.

   C. The Spillover Evidence from a Joint Trial Will Prejudice Michael Pope

      Severance is also appropriate because Michael Pope would suffer prejudice in

a joint trial from evidence that the jury should not consider against him (and that




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would not be admissible if he were tried alone) is admitted against his co-defendant,

William Pope. See Zafiro, 506 U.S. at 539-40. Evidence of a codefendant's

wrongdoing in some circumstances erroneously could lead a jury to conclude that a

defendant was guilty. Id. A showing of prejudice under Rule 14 leaves the tailoring

of the relief to be granted, if any, to the district court's sound discretion, taking into

consideration the need “to promote economy and efficiency” in the conduct of the

trials of defendants indicted together. See id.

       As a prime example of anticipated prejudice, the Government has produced

in discovery evidence depicting William Pope allegedly using a flagpole to hold open

a door to the Senate entrance to the Capitol, allowing in protestors behind him.

However, there is no evidence of which undersigned counsel is aware tending to

show that Michael Pope knew about the possibility of his brother taking any such

action in advance, or took part in such an action, or had even observed it happening.

There is no basis, therefore, to admit this piece of evidence against Michael Pope in

attempting to prove his state of mind for his actions inside the Capitol.

       Moreover, there will be evidence that depicts Michael Pope in close proximity

to William Pope while the latter is doing and saying things, but that is nonetheless

not probative of Michael Pope’s state of mind as to obstruction of the electoral vote

count or as to obstruction of a police officer. At the very least, the probative value of

such evidence will be in many cases outweighed by its prejudicial effect. A

prominent example of such evidence upon which the Government has said it intends

to rely is from a video posted to Facebook. As alleged in the Complaint narrative,




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the video depicts a scene as the two Pope brothers walked in the direction of the

Capitol:

      In the Facebook video, WILLIAM POPE stated that he was marching to the
      Capitol, explained why he was marching to the Capitol and introduced his
      brother, MICHAEL POPE (pictured in the first video screen capture below).

      In the video, WILLIAM POPE panned the camera over to MICHAEL POPE
      and stated, “I am here today with my brother Michael. He flew in from
      Idaho.” A second screen shot shows MICHAEL POPE from the rear with a
      green backpack with a distinctive light-colored stripe in the center of it
      (pictured in the second video screen capture below.)




(ECF No. 1-1, Statement of Facts attached to Complaint, at 2.)




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      In this episode, as with others, there is no basis for inferring Michael Pope’s

motivation from William Pope’s explanation. Nor is there a basis even for assuming

that Michael Pope, walking in front of William Pope, was paying a substantial

amount of attention to much of what his brother was saying on the recording.

These were mere moments taking place in the course of a long, tiring winter day,

amidst a noisy march of hundreds of thousands of people. Michael Pope would

stipulate that he was nearby his brother, and heard his brother call his name.

Beyond that, the Government’s reliance on the video for proof against Michael Pope,

especially in a case where there is no conspiracy alleged, is clearly more prejudicial

than probative. Moreover, a jury cannot be safely instructed to set aside William

Pope’s views on the video in considering Michael Pope’s guilt of the felonies. Guilt

by mere association will result from accumulating this and many other similar

incidences of William Pope’s individual conduct to which Michael Pope did not

subscribe or even demonstrably observe.

   D. William Pope’s Pro Se Representation Will Likely Prejudice Michael Pope

      In this case, the Court should consider in its discretion that, because William

Pope has proceeded since last year in his own pro se defense, a joint trial would be

pregnant with the possibility of further prejudice to Michael Pope. See United

States v. Veteto, 701 F.2d 136, 139 (11th Cir. 1983) (“A trial involving a pro se

defendant and co-defendants who are assisted by counsel is pregnant with the

possibility of prejudice. Such a trial, however, is not prejudicial per se.”) Making no

pre-judgment on the merits of William Pope’s defenses or tactics in particular, it is




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fair to say that pro se defendants as a general matter cause difficulties for the jury

or for their co-defendants given their lack of familiarity with federal trial procedure.

Among other things, delays during trial from the pro se representation would be

enough to breed among jurors disfavor and bias against the whole defense table. As

the court in Veteto recognized, many kinds of mid-trial developments with pro se

defendants have created thorny appellate issues. Concededly, this Court is not

required to give Michael Pope a separate trial from his pro se co-defendant, but the

threat of harm could become sufficient to sever the case in this Court’s discretion.

This Court should weigh this together with the other kinds of anticipated prejudice

set forth above, and prophylactically grant severance now.

                                   CONCLUSION

      The case against Michael Pope for the felony conduct the Government alleges

he committed should be tried on its own – unassisted by guilt-by-association from

the case against his brother, co-defendant William Pope. The prejudicial effects of

their joinder, and the interests of judicial economy warrant severance of defendants.

      WHEREFORE, for the foregoing reasons, the Motion for Severance should be

granted.

   Dated this 12th day of June, 2023.          Respectfully submitted

                                               /s/ Bruce H. Searby________
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                           CERTIFICATE OF SERVICE


I hereby certify that on the 12th day of June 2023, true and genuine copies of MOTION

BY DEFENDANT MICHAEL POPE FOR A SEVERANCE FROM DEFENDANT

WILLIAM POPE AND INCORPORATED MEMORANDUM OF LAW were served via

electronic mail by this Court’s CM/ECF system, which will serve a copy on all counsel

of record.


                                             Respectfully submitted,




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